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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

ENCHANTED GREEN LLC,                        )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )   CIVIL CASE NO. 2:23-cv-696-ECM
                                            )
ALABAMA MEDICAL CANNABIS                    )
COMMISSION, et al.,                         )
                                            )
      Defendants.                           )

                                         ORDER

      For good cause, it is

      ORDERED that the Court’s December 4, 2023 Order (doc. 11) is AMENDED to

the extent that the Clerk of the Court is DIRECTED to serve copies of the Order (doc. 11)

on each of the 14 Defendants by overnight mail to the physical address provided on Page

1 of the proposed summons (doc. 8 at 1). All other provisions of the Court’s December 4,

2023 Order (doc. 11) remain in effect.

      DONE this 5th day of December, 2023.


                                         /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
